Case 1:15-cr-00128-MAC-ZJH            Document 160        Filed 04/29/16       Page 1 of 1 PageID #:
                                             594



                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                  BEAUMONT DIVISION


 UNITED STATES OF AMERICA                          §
                                                   §
 VS                                                §           CASE NO: 1:15-CR-128-1
                                                   §
 GROVER LEE ROBERTS, JR                            §
                                                   §


               ORDER ADOPTING REPORTS AND RECOMMENDATIONS
                          REGARDING FORFEITURE

        On March 29, 2016, the United States magistrate judge filed his report recommending that

 the court grant in part third party Brunetta Roberts’ petitions (Doc. No. 75, 101) and amend the order

 of forfeiture. (Doc. No. 132 ). In addition, a report recommending that the court grant the Orange

 County Taxing Authorities’ petition (Doc. No. 89) was filed on April 4, 2016. (Doc. No. 137.)

 None of the parties have filed objections to either report and recommendation. Accordingly, it is

 ORDERED that the reports and recommendations (Doc. No. 132, 137) are ADOPTED. It is further

 ORDERED that Roberts’ petitions (Doc. No. 75, 101) are GRANTED in part as set forth in the

 report and recommendation, and the Taxing Authorities’ petition (Doc. No. 89) is GRANTED.

        The Government is directed to file a proposed Amended Final Order of Forfeiture,

 signed by Roberts and the attorney for the Orange County Taxing Authorities, within twenty-

 one (21) days from the date of this order.

             So ORDERED and SIGNED this 28 day of April, 2016.




                                                            ___________________________________
                                                            Ron Clark, United States District Judge
